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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF IOWA


 IN RE:                                            Chapter 11

 PEARL CITY GARAGE, INC.,                          Bankruptcy No. 19-00221

                Debtor.                            MOTION TO USE CASH COLLATERAL


       COMES NOW the Debtor in the above captioned Chapter 11 case, through its undersigned

counsel, and hereby moves the Court to enter an order authorizing it to use cash collateral of

Northwest Bank of Davenport, Iowa (hereinafter “Bank”) and On Deck Capital, Inc. of Arlington,

VA (hereinafter “On Deck”) for purposes of continuing business operations, stating the following:

       1.     The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to

28 U.S.C. §§ 1408 and 1409.

       2.     The Debtor filed its Chapter 11 Petition on February 7, 2019.

       3.     The Debtor is a factory engaged in the business of painting and anodizing metal

parts in Muscatine, Iowa. Debtor continues in possession of his property and the management of

its painting and anodizing operation and intends to operate as a Debtor in Possession pursuant to

11 U.S.C. § 1203.

                                             Background

       4.     Debtor has been financed by Northwest Bank (“Bank”) since April 11, 2016.

       5.     Bank claims to hold a perfected security interest the following collateral by virtue

of the financing statement E16026244-0 filed on April 11, 2016:

       Accounts and Other Rights to Payments: All rights to payment, whether or not earned by
       performance, including, but limited to, payment for property or services sold, leased,
       rented, licensed, or assigned. This included any rights and interests (including all liens)



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       which Debtor may have by law or agreement against any account debtor or obliger of
       Debtor. Inventory: All inventory held for ultimate sale or lease, or which has been or will
       be supplied under contracts of service, or which are raw materials, work in process, or
       materials used or consumed in Debtor's business. Equipment: All equipment including, but
       not limited to, machinery, vehicles, furniture, fixtures, manufacturing equipment, farm
       machinery and equipment, shop equipment, parts, and tools. The property includes any
       equipment described in a list or schedule Debtor gives to Secured Party, but such a list is
       not necessary to create or perfect a valid security interest in all of Debtor's equipment.
       Instruments and Chattel Paper: All instruments, including negotiable instruments and
       promissory notes and any other writings or records that evidence the right to payment of a
       monetary obligation, and tangible and electronic chattel paper. General Intangibles: All
       general intangibles including, but not limited to, tax refunds, patents and applications for
       patents, copyrights, trademarks, trade secrets, goodwill, trade names, customer lists,
       permits and franchises, payment intangibles, computer programs and all supporting
       information provided in connection with a transaction relating to computer programs, and
       the right to use the Debtor's name. Documents: All documents of title including, but not
       limited to, bills of lading, dock warrants and receipts, and warehouse receipts. Government
       Payments and Programs: All payments, accounts, general intangibles, and benefits
       including, but not limited to payment in kind, deficiency payments, letters of entitlement,
       warehouse receipts, storage payments, emergency assistance and diversion payments,
       production flexibility contracts, and conservation reserve payments under any preexisting,
       current or future federal or state government program pr. Investment Property: All
       investment property including, but not limited to, certificated securities, un-certificated
       securities, securities entitlements, securities accounts, commodity contracts, commodity
       accounts, and financial assets. Deposit Accounts: All deposit accounts including, but not
       limited to, demand, time, savings, passbook, and similar accounts.


       A copy of the Bank’s financing statement is attached as Exhibit “A”.

       6.     The Debtor granted a security interest in the above stated collateral through its

execution of a Commercial Security Agreement on April 11, 2016. A copy of the Commercial

Security Agreement executed by the Debtor in favor of Bank is attached hereto as Exhibit “B”.

       7.     On Deck claims to hold a perfected security interest the following collateral by

virtue of the financing statement X17032401-6 filed on October 26, 2017:

       All of Debtor’s right title and interest, whether now existing or hereafter acquired, in and
       to any and all assets of the Debtor.


       A copy of On Deck’s financing statement is attached as Exhibit “C”.




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        8.     Debtor granted a security interest to On Deck by its execution of a Business Loan

and Security Agreement, which is attached to this Motion as Exhibit “D”.

        9.     To the best of Debtor’s knowledge, the security interest of On Deck is inferior to

the security interest of Bank as no subordination agreements exist and, the debt owed to Bank

exceeds the value of Bank’s collateral.

                                Generation and Use of Cash Collateral

        10.    The Debtor has money in its operating and payroll accounts at Bank and continues

to receive payments on its accounts receivable from its customers. The total current balance in the

Debtor’s accounts at the Bank is $29,656.61.

        11.    In addition to the money in its account listed in paragraph 10, Debtor has accounts

receivable in the approximate amount of $186,301.00 which are collateral of both Bank and On

Deck.

        12.    Debtor plans to continue the operation of its business after filing this bankruptcy.

The initial use of cash collateral will be to pay wages and continue operations as it relocates its

business.

        13.    The Debtor cannot obtain this credit on an unsecured basis and has attempted to do

so.

        14.    Debtor proposes to offer as replacement collateral a first security interest in the

post-petition accounts receivable. This should be adequate protection for use of grain proceeds to

pay rent and other inputs for the crops.

        WHEREFORE, the Debtor respectfully requests that this Court enter an order authorizing

it to utilize cash collateral currently in the form of money in its bank accounts as well as ongoing

receipts from payments received on its accounts receivable, and that this Court grant such other




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and further relief as it deems equitable, given the circumstances.

       Dated this 7th day of February 2019.

                                                     Respectfully submitted,

                                                     AG & BUSINESS LEGAL STRATEGIES

                                                     /s/ Joseph A. Peiffer
                                                     Joseph A. Peiffer AT0006160
                                                     P.O. Box 11425
                                                     Cedar Rapids, Iowa 52410-1425
                                                     Telephone: (319) 363-1641
                                                     FAX: (319) 200-2059
                                                     E-mail: joe@ablsonline.com
                                                     ATTORNEY FOR DEBTOR

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 7th day of February 2019, a copy of the
foregoing document was filed with the Clerk of Court for the United States Bankruptcy Court for
the Southern District of Iowa using the CM/ECF system and served electronically on those
participants that receive service through the CM/ECF System. The undersigned further certifies
the foregoing document was sent to persons or representatives via electronic mail or U.S. Mail
postage pre-paid as set forth below.

                                                     /s/ Jeffrey Brookens


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 On Deck Capital, Inc.
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